     Case 1:19-mc-00045-BAH Document 14 Filed 08/12/19 Page 1 of 1



                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
IN RE: APPLICATION OF THE REPORTERS        )
COMMITTEE FOR FREEDOM OF THE PRESS )
FOR AN ORDER AUTHORIZING THE              ) Misc. No. 19-045 (BAH)
RELEASE OF GRAND JURY MATERIAL            )
CITED, QUOTED, OR REFERENCED IN THE )
REPORT OF SPECIAL COUNSEL ROBERT          )
S. MUELLER III                            )
__________________________________________)


    GOVERNMENT’S MOTION TO DISMISS OR DENY THE APPLICATION
                     WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), the government hereby

moves to dismiss or deny the above-captioned application for disclosure of grand jury

information. 1 The reasons supporting this motion are set forth in the accompanying

memorandum of law.

Dated: August 12, 2019                            Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General


                                                  /s/ Elizabeth J. Shapiro
                                                  ELIZABETH J. SHAPIRO
                                                  (DC. Bar No. 418925)
                                                  Civil Division, U. S. Dept. of Justice
                                                  JONATHAN I. KRAVIS
                                                  Assistant United States Attorney
                                                  Washington, DC 20530
                                                  Phone: (202) 514-5302
                                                  Email: elizabeth.shapiro@usdoj.gov


1
 The Local Rules do not address whether the Civil Rules of Federal Procedure apply to
cases docketed as miscellaneous matters. For practical purposes, this motion serves as
the government’s response to the application at issue, and the Court may in its discretion
either dismiss the matter under Fed. R. Civ. P. 12 or simply deny the application and
thereby close the case.
